                Case 2:19-cv-00166-RAJ Document 1 Filed 02/04/19 Page 1 of 3



 1
 2
 3
 4
 5
 6
 7
 8
 9
10                            UNITED STATES DISTRICT COURT
11                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
12
                                         )
13                                       )
                                         )
14   ALBERT K. KWAN                      )
                                         )
15                                       )
                                         )
16                                       )
                 v.                      )       Civil Action No.
17                                       )
                                         )
18                                       )
                                         )
19   SCENA WEBB                          )
     DIRECTOR, INDUSTRY OPERATIONS )
20   BUREAU OF ALCOHOL, TOBACCO,         )
     FIREARMS AND EXPLOSIVES             )
21   1521 FIRST AVE.                     )
     SEATTLE, WA                         )
22                                       )
     BRIAN T. MORAN                      )
23   UNITED STATES ATTORNEY              )
     700 STEWART ST., SUITE 5220         )
24   SEATTLE, WA 98101                   )
                                         )
25   MATTHEW G. WHITAKER                 )
     ACTING U.S. ATTORNEY                )
26   950 PENNSYLVANIA AVE. N.W.          )
     WASHINGTON, D.C. 20530              )
27   ____________________________________)
28
                                       COMPLAINT

                                                                    Law Offices of Joseph R. Conte
                                                                    400 Seventh St., N.W., Suite 400
      Albert K. Kwan v. Bureau                                      Washington, D.C. 20004
     of Alcohol, Tobacco,                                           202.638.4100

     Firearms and Explosives                                        Law Offices of Eric R. Stahlfeld
     Case No.                                                       145 S.W. 155th St., Suite 101
                                                                    Seattle, WA 98166
     COMPLAINT4.wpd                          1                      206.248.8016
                Case 2:19-cv-00166-RAJ Document 1 Filed 02/04/19 Page 2 of 3



 1                                               Jurisdiction
 2   1.     This Court has jurisdiction of this matter pursuant to 18 U.S.C. §923(f)(3).
 3   2.     Plaintiff Albert K. Kwan is a U.S. citizen who lives in Bellevue, Washington within the
 4          Western District of Washington.
 5   3.     Defendant Bureau of Alcohol, Tobacco, Firearms and Explosives (hereinafter ATF) is a
 6          federal agency involved in the regulation of the sale and purchase of firearms.
 7                                                   Facts
 8   4.     On June 13, 2017, Albert K. Kwan of Bellevue, Washington (Applicant) filed an
 9          Application for Firearms License, ATFE Form 7 dated May 15, 2017, as a Dealer in
10          Firearms other than Destructive Devices pursuant to the Gun Control Act of 1968 (GCA),
11          as amended, 18 U.S.C. Chapter 44, with the Bureau of Alcohol, Tobacco, Firearms and
12          Explosives (ATF).
13   5.     The GCA mandates that ATF issue a Federal firearms license to qualified applicant. 18
14          U.S.C. §923(c); 27 C.F.R. §478.47(a).
15   6.     On March 14, 2018,, Justin Lomax, Acting Director, Industry Operations, Seattle Field
16          Division issued a Notice to Deny Application for License, ATF Form 4498 to the
17          Applicant.
18   7.     By letter dated March 23, 2018, the Applicant timely submitted a request for a hearing to
19          review that Notice.
20   8.     The hearing was held on September 12, 2018, at the ATF Seattle Field Division office
21   9.     On December 10, 2018, the ATF issued its Final Notice of Denial of Application,
22          Revocation, Suspension and/or Fine of Firearms License ATF Form 5300.13.
23   10.    Plaintiff respectfully requests, pursuant to 18 U.S.C. §923(f)(3), a de novo review by this
24          court of the determination referenced in paragraph 9 of this complaint, plus such other
25          relief that the plaintiffs may be entitled to.
26
27
28


                                                                             Law Offices of Joseph R. Conte
                                                                             400 Seventh St., N.W., Suite 400
      Albert K. Kwan v. Bureau                                               Washington, D.C. 20004
     of Alcohol, Tobacco,                                                    202.638.4100

     Firearms and Explosives                                                 Law Offices of Eric R. Stahlfeld
     Case No.                                                                145 S.W. 155th St., Suite 101
                                                                             Seattle, WA 98166
     COMPLAINT4.wpd                                     2                    206.248.8016
                Case 2:19-cv-00166-RAJ Document 1 Filed 02/04/19 Page 3 of 3



 1
     ___/s/_Eric R. Stahlfeld______                  __/s/__Jpseph R. Conte________
 2   Eric R. Stahlfeld                               Joseph R. Conte
     Counsel for Albert K. Kwan                      Counsel for Albert K. Kwan
 3   Law Office ofthEric Stahlfeld                   Law Office of J.R. Conte
     145 S.W. 155 St., #101                          400 Seventh St., N.W., #206
 4   Seattle, WA 98166                               Washington, D.C. 20004
     Phone: 206.248.8016                             Phone: 202.638.4100
 5   Email: stahlfelde@aol.com                       Fax: 202.628.0249
                                                     Email: dcgunlaw@gmail.com
 6
 7
 8
 9
10
11   DEFENDANT WILL BE SERVED VIA CERTIFIED MAIL:
12
13   U.S. Attorney General Matthew G. Whitaker
     U.S. Department of Justice
14   950 Pennsylvania Avenue, NW
     Washington, DC 20530-0001
15
     U.S. Attorney Brian T. Moran
16   United States Attorney's Office
     700 Stewart Street, Suite 5220
17   Seattle, WA 98101-1271
18
     Scena Webb
19   Director, Industry Operations
     Seattle Field Division
20   1521 First Ave. South, Suite 600
     Seattle, WA 98134
21
22
23
24
25
26
27
28


                                                                     Law Offices of Joseph R. Conte
                                                                     400 Seventh St., N.W., Suite 400
      Albert K. Kwan v. Bureau                                       Washington, D.C. 20004
     of Alcohol, Tobacco,                                            202.638.4100

     Firearms and Explosives                                         Law Offices of Eric R. Stahlfeld
     Case No.                                                        145 S.W. 155th St., Suite 101
                                                                     Seattle, WA 98166
     COMPLAINT4.wpd                              1                   206.248.8016
